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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                          CR-22-00462-TUC-JCH-LAB-2
10                 Plaintiff,                                      ORDER
11   v.
12   Brian Tackett,
13                 Defendant.
14
15          This matter having been referred for a pretrial status conference pursuant to
16   FED.R.CRIM.P.50 and LRCIV. 7.2(a) and LRCRIM.12.1, Rules of Practice of the U.S.
17   District Court for the District of Arizona;
18          IT IS ORDERED that a Pretrial Status Conference is set for November 4, 2022
19
     at 2:15 p.m. before Magistrate Judge Leslie A. Bowman, Courtroom 3B.
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            IT IS FURTHER ORDERED that, prior to the Status Conference, counsel are
21
     expected to meet and confer in good faith before the conference and should be prepared
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     to discuss discovery, disclosure, and any other matters which will aid in the prompt
23
24   disposition of this case.

25          Dated this 28th day of October, 2022.

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